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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA,
      Plaintiff

         v.                                              Criminal No. 07-488 (ADC)

 [5] RUBEN SANCHEZ-REYES
        Defendant.


               ORDER ADOPTING REPORT AND RECOMMENDATION

        On February 6, 2009, defendant Rubén Sánchez-Reyes [5] pled guilty to counts one and

seven of the indictment. Docket Nos. 1216, 1220. Later, on March 10, 2009, defendant moved

pro-se, asserting a claim of ineffective assistance of counsel. Docket No. 1574. Upon court

inquiry, defendant’s allegations were construed as a motion to withdraw the guilty plea

entered on February 6, 2009. After conducting an evidentiary hearing, Magistrate Judge

Marcos E. López issued a Report and Recommendation (R & R). Upon concluding that there

was no basis in fact or law supporting an ineffective assistance of counsel claim, it was

recommended that defendants’ motion to withdraw his guilty plea be DENIED.

II.     Legal Standard

        A district court may refer pending motions to a magistrate-judge for a report and

recommendation. 28 U.S.C. § 636(b)(1)(B); Fed. R. Civ. P. 72(b); L. Civ. R. 72(a). Any party

adversely affected by the recommendation issued may file written objections within ten (10)

days of being served with the report and recommendation. 28 U.S.C. § 636(b)(1). A party that
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files a timely objection is entitled to a de novo determination of “those portions of the report or

specified proposed findings or recommendations to which specific objection is made.” Sylva

v. Culebra Dive Shop, 389 F. Supp. 2d 189, 191-92 (D.P.R. 2005) (citing United States v. Raddatz,

447 U.S. 667, 673 (1980)). Failure to comply with this rule may preclude further review by the

district court and the court of appeals. See Santiago v. Cannon U.S.A. Inc., 138 F.3d 1, 4 (1st Cir.

1998); Davet v. Maccorone, 973 F.2d 22, 30-31 (1st Cir. 1992). Similarly, a party objecting to a

report and recommendation is “not entitled to a de novo review of an argument never raised”

before the magistrate-judge. Borden v. Sec. of Health and Human Svcs., 836 F.2d 4, 6 (1st Cir.

1987).

         In conducting its review, the Court is free to “accept, reject, or modify, in whole or in

part, the findings or recommendations made by the magistrate-judge.” 28 U.S.C. § 636 (a)(b)(1);

see also Templeman v. Cris Craft Corp., 770 F.2d 245, 247 (1st Cir. 1985); Alamo- Rodríguez v. Pfizer

Pharmaceuticals, Inc., 286 F. Supp. 2d 144, 146 (D.P.R. 2003). Hence, the Court may accept those

parts of the report and recommendation to which the plaintiff does not object. See Hernández-

Mejías v. General Elec., 428 F. Supp. 2d 4, 6 (D.P.R. 2005) (citing Lacedra v. Donald W. Wyatt

Detention Facility, 334 F. Supp. 2d 114, 125-26 (D.R.I. 2004)).

III.     Conclusion

         This court has examined the record, the transcript of the Rule 11 hearing, the detailed

colloquy held and all reflects that defendant was well aware of his right to a public trial, the
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nature of charges, applicable maximum penalties and statutory mandatory minimums,

consequences of waiving his constitutional rights and of his guilty plea. The record shows that

defendant’s plea was knowingly, intelligently and voluntarily entered.

       Having considered the unopposed Magistrate-Judge’s Report and Recommendation,

the same is ADOPTED in full.

       SO ORDERED.

       At San Juan, Puerto Rico, this 23rd day of July, 2009.



                                                 S/AIDA M. DELGADO-COLON
                                                 United States District Judge
